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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SARA AVIEL,

             Plaintiff,

      v.                                       Civil Action No. 25-0778 (LLA)

SERGIO GOR, et al.,

             Defendants.




DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT AND OPPOSITION
TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM IN
                        SUPPORT THERETO
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       Defendants, various government components and officials, including the President, sued

in their official capacities, respectfully submit this memorandum in support of their cross-motion

for summary judgment and in opposition to Plaintiff’s motion for summary judgment. (ECF No.

20).

                                       INTRODUCTION

       On February 24 and 26, 2025, President Donald Trump removed all members from the

Board of Directors of the Inter-American Foundation (“the Foundation”) effective immediately.

President Trump subsequently designated Pete Marocco as the acting Chairman of the Board. In

carrying out his duties as an acting Board member, Marocco removed Plaintiff Sara Aviel as

president of the Foundation on February 28, 2025. The following week, Marocco selected

Dominic Bumbaca as Aviel’s replacement. Aviel brought this lawsuit claiming her removal was

ultra vires and sought a preliminary injunction. Having obtained a preliminary injunction, which

reinstated her as president of the Foundation, Aviel now seeks summary judgment in her favor.

       The Court should deny Aviel’s motion for summary judgment and grant Defendants’ cross-

motion for summary judgment. President Trump acted within his authority when he designated

Marocco as acting Chairman of the Foundation Board, and Marocco lawfully removed Aviel when

Marocco became the acting Chairman of the Board. Further, if President Trump did not have the

authority to designate Marocco as an acting member of the Foundation Board, then President

Trump must have the authority to remove Aviel from her position as president of the Foundation

because without a Board of Directors, Aviel is the de facto leader of the Foundation and ultimately

answers to the President.

       Moreover, Aviel is not entitled to any of the equitable relief that she seeks because she has

an adequate remedy at law, specifically, backpay. A district court lacks the authority to order
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Aviel’s reinstatement because deciding who should run the Foundation on the President’s behalf

is the President’s prerogative, not the judiciary’s. Moreover, Aviel’s failure to succeed on the

merits, demonstrate irreparable harm, or articulate any interest that override’s the President’s

interest in having his preferred leadership at the Foundation renders her unable to obtain a

permanent injunction, declaratory relief, or a writ of mandamus.

                                         BACKGROUND

I.     Legal Background.

       In 1969, Congress established the Inter-American Foundation (“the Foundation”) to

“strengthen the bonds of friendship and understanding” among the peoples of the Western

Hemisphere, “to support self-help efforts designed to enlarge the opportunities for individual

development,” to “stimulate and assist effective and ever wider participation of the people in the

development process,” and to “encourage the establishment and growth of democratic foundations

. . . appropriate to the requirements” of the Nations in the Western Hemisphere. Id. § 290f(b).

The Foundation carries out these purposes through “undertaking or sponsoring appropriate

research and by planning, initiating, assisting, financing, administering, and executing programs

and projects” in partnership with private entities.    Id. § 290f(c). Congress established the

Foundation as a nonprofit corporation with perpetual succession.        Id. § 290f(c), (n).   The

Foundation is subject to the provisions of the Government Corporation Control Act [31 U.S.C.

§§ 9101 et seq.]. 22 U.S.C. § 290f(t).

       The Foundation’s nine-member Board of Directors, appointed by the President and subject

to Senate confirmation, manages the Foundation. 22 U.S.C. § 290f(g). Board members serve six-

year terms and no more than five Board members can be members of any one political party. Id.

§ 290f(g). The President designates a Chairman and Vice Chairman from among the Board

Members. Id. The Board directs “the exercise of all the powers of the Foundation.” Id. § 290f(i).


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The Board appoints a president of the Foundation, who acts as chief executive of the Foundation

and serves “on such terms as the Board may determine.” Id. § 290f(l)(1).

       On February 19, 2025, President Trump signed an Executive Order to “commenc[e] a

reduction in the elements of the Federal bureaucracy that the President has determined are

unnecessary.” Executive Order No. 14,217, 90 Fed. Reg. 10577 (Feb. 25, 2025). The Executive

Order directed that “the non-statutory components and functions of” four named governmental

entities “shall be eliminated to the maximum extent consistent with applicable law, and such

entities shall reduce the performance of their statutory functions and associated personnel to the

minimum presence and function required by law.” Id. The Foundation was among the four entities

subject to the order. Id. § 2(a)(ii). The Executive Order directed the Foundation to “submit a

report to the Director of the Office of Management and Budget confirming compliance with this

[Executive Order] and stating whether the governmental entity, or any components or functions

thereof, are statutorily required and to what extent.” Id. § 2(a)(iii).

II.    Factual Background.

       Plaintiff Sara Aviel was appointed president of the Foundation by the Board of Directors

on March 7, 2022. Aviel Decl. ¶ 3 (ECF No. 5-2). As of February 23, 2025, the Foundation had

only four Board members. The following day, as part of his efforts to implement Executive Order

14,217, President Trump removed three of the four Board members. Compl. ¶ 65 (ECF No. 1).

President Trump removed the remaining Board member on February 26, 2025. Id. On February

28, 2025, President Trump designated Pete Marocco as acting Chairman of the Board. Marocco

Decl. ¶ 3 (ECF No. 14-1). As the sole member of the Board, Marocco removed Aviel from her

position as president of the Foundation. Id. The following week, Marocco appointed Dominic

Bumbaca as president of the Foundation. Id. ¶ 4. President Trump did not intend for Marocco’s

designation as an acting board member to be permanent because on March 10, 2025, he nominated


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Kenneth Jackson and Russell Vought to serve as members of the Foundation Board. See White

House’s Nomination to U.S. Senate (March 10, 2025) (ECF No. 19-1). Jackson and Vought are

awaiting Senate confirmation.

       On March 17, 2025, Aviel filed suit seeking reinstatement as president of the Foundation,

claiming that her removal was ultra vires, see generally, Compl. (ECF No. 1), and simultaneously

sought a temporary restraining order and preliminary injunction, see ECF No. 5, which Defendants

opposed. Def. Opp’n to TRO (ECF No. 19). On April 4, 2025, the Court held a hearing on the

motion and granted Aviel the preliminary injunction that she sought, which, in effect, reinstated

Aviel as president of the Foundation and voided all actions that Marocco had taken as the acting

Chairman of the Foundation Board. Order (ECF No. 23). Defendants moved to stay the Court’s

injunctive order pending appeal (ECF No. 27), but the Court denied that motion (ECF No. 30).

Defendants appealed the Court’s order entering the preliminary injunction, Not. of Appeal (ECF

No. 26), and simultaneously sought an immediate administrative stay, see Aviel v. Gor, No. 25-

5105 (D.C. Cir. filed Apr. 7, 2025). That motion remains pending before the D.C. Circuit.

                                      LEGAL STANDARDS

       Summary judgment may be granted “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986); Holcomb v. Powell,

433 F.3d 889, 895 (D.C. Cir. 2006). A fact is “material” if it is capable of affecting the substantive

outcome of the litigation. Anderson, 477 U.S. at 248; Holcomb, 433 F.3d at 895. A dispute is

“genuine” if the evidence is such that a reasonable jury could return a verdict for the nonmoving

party. See Scott v. Harris, 550 U.S. 372, 380 (2007); Holcomb, 433 F.3d at 895. When Rule 56

is invoked, the moving party has the initial burden of demonstrating the absence of a genuine

dispute as to any material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). When the


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moving party does not bear the burden of persuasion at trial, its burden “may be discharged by

‘showing’—that is, pointing out to the district court—that there is an absence of evidence to

support the nonmoving party’s case.” Id. at 325.

       Once the moving party has met its burden, to defeat the motion the nonmoving party must

designate “specific facts showing that there is a genuine issue for trial.” Id. at 324 (citation

omitted). Though courts must view this evidence in the light most favorable to the nonmoving

party and draw all reasonable inferences in that party’s favor, see Grosdidier v. Broad. Bd. of

Governors, 709 F.3d 19, 23–24 (D.C. Cir. 2013), the nonmoving party must show more than “[t]he

mere existence of a scintilla of evidence in support of” his position—“there must be evidence on

which the jury could reasonably find for [the nonmoving party],” Anderson, 477 U.S. at 252. The

nonmoving party, moreover, “may not rest upon mere allegation or denials of his pleading but

must present affirmative evidence showing a genuine issue for trial.” Laningham v. Dep’t of Navy,

813 F.2d 1236, 1241 (D.C. Cir. 1987) (internal citation and quotation marks omitted).

                                           ARGUMENT

I.     Aviel was Lawfully Removed From her Position as President of the Foundation.

       The Constitution vests the entirety of the “executive Power” in the President, who is given

the sole responsibility to “take Care that the Laws be faithfully executed.” Art. II, § 1, cl. 1; id. §

3; see also Severino v. Biden, 71 F.4th 1038, 1043–44 (D.C. Cir. 2023). “[A]s a general matter,”

the executive power encompasses “the authority to remove those who assist [the President] in

carrying out his duties.” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 513–14

(2010). Without such power, the President would be unable to control those who aid him in

executing the laws and “could not be held fully accountable for discharging his own

responsibilities.” Id. at 514.




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       For nearly a century, the Supreme Court has repeatedly reaffirmed “the President’s power

to remove—and thus supervise—those who wield executive power on his behalf.” Seila L. LLC

v. Consumer Fin. Prot. Bureau, 591 U.S. 197, 204 (2020) (citing Myers v. United States, 272 U.S.

52 (1926)). Consistent with this authority, President Trump removed the Foundation board

members on February 24 and 26, 2025. Id. Notably, even Plaintiff concedes that President Trump

lawfully removed the Board members. Hearing Tr. at 18 (ECF No. 17) (“We are not arguing that

the president lacks authority to remove members of the board. We grant that the case law allows

that and that the board members can be removed”). The parties’ dispute turns on whether President

Trump lawfully designated Marocco as an acting Board member. As explained below, President

Trump lawfully made this designation and, for that reason, Marocco had the authority to remove

Aviel from her position as president of the Foundation. Moreover, if President Trump could not

have lawfully designated Marocco as the Chair of the Foundation Board, then President Trump

himself must have the authority to remove Aviel.

       A.      President Trump Lawfully Designated Marocco as Acting Chair of the
               Foundation Board and Marocco, in Turn, Removed Aviel From Her Position
               as President of the Foundation.

       The President must be able to designate acting officials to fulfill his duty to “take care that

the laws be faithfully executed.” See Art. II, § 1, cl. 1; id. § 3. The President has “powers not

enumerated in the statutes—powers derived not from statutory grants but from the Constitution.”

See Request of the Senate for an Opinion as to the Powers of the President “in Emergency or State

of War,” 39 Op. Att’y Gen. 343, 347 (1939). “As part of his executive power,” the President must

be able to “select those who [are] to act for him under his direction in the execution of the laws.”

Myers v. United States, 272 U.S. 52, 117 (1926); see also, e.g., Free Enter. Fund v. Pub. Co. Acct.

Oversight Bd., 561 U.S. 477, 492 (2010). Relevant here, the President has the “concomitant power

to name acting officials when necessary to fulfill his constitutional duties, at least where no statute


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precludes it.” Temporary Presidential Designation of Acting Board Members of the Inter-

American Foundation and the United States African Development Foundation, 49 Op. O.L.C. __,

4 (March 14, 2025) (“Acting Board Members”). The President’s inherent powers under the Take

Care Clause would extend to designating acting members of the Board” to manage the Foundation

temporarily. Id. at 6.

       Here, the President lawfully exercised his discretion in removing the Foundation Board

members. There is no statute that limits or prohibits the President’s prerogative to ensure the

Foundation has temporary leadership while the Senate considers his nominees for permanent

Board positions. Therefore, nothing required the President to leave the Foundation leaderless and

unable to “direct the exercise of all the powers of the Foundation” until the Senate considers his

nominees for to fill vacancies on the Board. 22 U.S.C. § 290h-5(a); see also, Acting Board

Members, 49 Op. O.L.C. __, at 6 (“no statute specifically governs the President’s authority to

designate acting Board members.”). Instead, the President has the concomitant authority, incident

to his Article II power, to designate acting officers. Youngstown Sheet & Tube Co. v. Sawyer, 343

U.S. 579, 637 (1952) (Robert Jackson, J., concurring) (“congressional inertia, indifference or

quiescence may sometimes, at least as a practical matter, enable, if not invite, measures on

independent presidential responsibility”). The President’s authority to designate in the face of

statutory silence is consistent with the Framers’ demand for “unity in the Federal Executive” to

guarantee “both vigor and accountability.” Printz v. United States, 521 U.S. 898, 922 (1997).

       Because Congress has not provided for procedures that the President must undertake to fill

vacancies on the Foundation board, “any actual test of power” depends on “imperatives of events

and contemporary imponderables rather than on abstract theories of law.” Youngstown Sheet &

Tube Co., 343 U.S. at 637. Here, President Trump needs individuals who could “direct the exercise




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all powers of the Foundation,” consistent with his agenda, until the Senate could confirm his

nominees. 22 U.S.C. § 290h-5(i). “If the President could not task a politically accountable official

to fill the [Foundation’s] leadership positions in an acting capacity, the President functionally

could not exercise his Take Care authority.” Acting Board Members, 49 Op. O.L.C. __, at 9.

       Aviel argues that the Federal Vacancies Act limits the President’s authority to designate

acting Board members for the Foundation. Pl. Mot. at 25 (ECF No. 35). This argument is incorrect

because statutes like the Federal Vacancies Act are a limitation on the President’s power, not the

source of his authority. See, e.g., Acting Board Members, 49 Op. O.L.C. at 6–10; Power of the

President to Designate Acting Member of the Federal Home Loan Bank Board (“Home Loan Bank

Board”), 1 Op. O.L.C. 150 (1977) (“Whatever the term ‘independent’ may mean …, the continued

functioning of the Board is plainly included in the constitutional responsibility of the President as

the head of the executive branch to take care that the laws be faithfully executed.”); Authority of

the President to Remove the Staff Director of the Civil Rights Commission and Appoint an Acting

Staff Director, 25 Op. O.LC. 103 (2001) (similar).

       In that vein, the Federal Vacancies Act applies to “any office of an Executive agency” “for

which appointment is required to be made by the President, by and with the advice and consent of

the Senate” unless the Act specifies otherwise. 5 U.S.C. § 3347(a). The Federal Vacancies Act

does indeed specify otherwise for entities like the Foundation because Congress excluded those

entities from it. 5 U.S.C. § 3349c(1). Specifically, the Federal Vacancies Act does not apply to

“any member who is appointed by the President, by and with the advice and consent of the Senate

to any board, commission, or similar entity that is composed of multiple members; and governs an

independent establishment or Government corporation.” Id. The parties agree that the Foundation

qualifies as an entity described in this provision. Pl. Mot at 25 (ECF No. 35). But Aviel construes




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this provision to mean that the President does not have any authority to designate officials to act

as Board members. Id. This interpretation is incorrect. If the Federal Vacancies Act itself does

not apply to the Foundation, then section 3348(b) which requires certain principal offices to remain

vacant until the Senate confirms the President’s nominees, and Section 3348(d), which voids the

actions of an individual not acting under the Federal Vacancies Act, would not apply to the

Foundation either. See Food & Drug Admin. v. Brown & Williamson Tobacco Corp., 529 U.S.

120, 121 (2000) (statutory provisions “must [be] place[d] . . . in context”—including in the context

of each other—and “interpret[ed] . . . to create a symmetrical and coherent regulatory scheme.”).

       The Executive Branch has long understood that “the President’s power to make such

interim designations” on a multi-member independent board “flows from the President’s

responsibility to keep executive branch agencies in operation.” Home Loan Bank Board. 1 Op.

O.L.C. at 151. Aviel has not identified any binding judicial precedent that contradicts this opinion.

See generally, Pl. Mot. Aviel instead attempts to discount the Home Loan Bank Board opinion by

noting that it was issued prior to 1998 when Congress enacted Section 3349c(1) of the Federal

Vacancies Act. Pl. Mot at 28. But the Federal Vacancies Act itself existed since 1868. See An Act

To Authorize The Temporary Supplying of Vacancies in the Executive Departments, 40th Cong.,

Sess. II, Ch. 227 (1868). In adding Section 3349c(1) to the Federal Vacancies Act, the Senate

Committee on Government Affairs explained excluding multi-member boards “has always been

the case with the respect to the Federal Vacancies Act and [the Committee] wishes to avoid any

confusion that might result from the enactment of a replacement statute on this point. Thus,

vacancies in these positions are not covered by this legislation.” S. Rep. No. 105-250, at 22 (1998).

In other words, in passing the 1998 amendments to the Federal Vacancies Act, Congress did not

intend to alter the status quo by limiting or revoking the inherent authority that previous Presidents




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claimed gave them the authority to make temporary designations on multi-member boards. This

is despite the fact that Congress passed the 1998 amendments in part because of “the growing

number of federal departments and agencies that now claim exemption from the Vacancies Act.”

Id. at 3. Prior administrations had understood the Vacancies Act to exclude multi-member boards

and in enacting Section 3349c(1) Congress ratified this understanding. S. Rep. No. 105-250, at 22

         Aviel argues that section 3348(d)(1), which voids of actions by individuals not acting under

various provisions of the Federal Vacancies Act supports her interpretation. Pl. Mot. at 30 (ECF

No. 35). But this provision supports Defendants’ position. Under 5 U.S.C. § 3348(d)(1),

         [a]n action taken by any person who is not acting under section 3345, 3346, or
         3347, or as provided by subsection (b), in the performance of any function or duty
         of a vacant office to which this section and sections 3346, 3347, 3349, 3349a,
         3349b, and 3349c apply shall have no force or effect.

This provision supports Defendants’ position because the Foundation Board is an office “to which

Section 3349c appl[ies].” Id. Under Section 3349c(1), the Federal Vacancies Act’s limits on

presidential authority do not apply to the Foundation Board. Marocco was designated to act in a

position in which Section 3349c applies and thus Section 3348(d)(1) is consistent with a finding

that Marocco was lawfully designated an acting board member who had the authority to remove

Aviel.

         Moreover, the Court need not rule that the Federal Vacancies Act is unconstitutional to also

rule that the President has the inherent authority to designate acting board members. Contra Pl.

Mot at 29 (ECF No. 35). The President “can only rely upon his own independent powers” when

he “acts in absence of either a congressional grant or denial of authority.” Youngstown Sheet &

Tube Co., 343 U.S. at 637. The President’s inherent authority to designate acting board members

exists because Congress chose to exclude multi-member boards, like the Foundation, from the

Federal Vacancies Act. 5 U.S.C. § 3349c(1). If Congress were to repeal Section 3349c(1) or


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otherwise make the Foundation subject to the Vacancies Act, then the President would no longer

have the inherent authority to make acting designations.

       To the extent that there is ambiguity in the Federal Vacancies Act, that ambiguity should

be resolved in Defendants’ favor. Although Congress can establish procedures for temporarily

filling vacant positions that otherwise require Senate confirmation, a “court cannot impose

additional constraints on the President’s appointment of acting officers without a clear

congressional command, lest [the court] infringe on the executive prerogative.” Rush v. Kijakazi,

65 F.4th 114, 123 (4th Cir. 2023); Severino, 71 F.4th at 1044 (“Congress must make it clear in a

statute if it wishes to restrict the President’s removal power”). Congress’s decision to exempt

multi-member boards from the Federal Vacancies Act is far from a “clear congressional command”

establishing a limit on the President’s authority to designate acting board members. Rush, 65 F.4th

at 123. Thus, the Court should revert to the default assumption that the president has the inherent

authority to temporarily designate individuals to act as Foundation Board members.

       Aviel’s argument also lacks support in the Foundation’s organic statute. Contra Pl. Mot.

at 25 (ECF No. 35). Although the statute provides that Board members who serve for full terms

must be confirmed by the Senate, the statute is silent on the procedures for temporary designations

of Board members while the Senate considers the President’s nominees. 22 U.S.C. § 290f(g).

Aviel also misunderstands the scope of the statute’s procedures for filling vacancies. The statute

allows a Board member whose term has expired to “continue to serve until a successor is appointed

and shall have qualified.” Id. But Marocco was not designated in place of a Board member whose

term has expired. Rather, Marocco was designated in place of Board members whom the President

had removed.




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       Because Congress has not provided for procedures that the President must undertake to fill

vacancies on the Foundation board and the President must “take care that the laws be faithfully

executed,” the President must be able to “select those who [are] to act for him under his direction

in the execution of the laws,” Myers, 272 U.S. at 117, even those that simply act as “acting”

members until the Senate confirms a permanent replacement. Marocco’s designation was not

intended to be permanent because President Trump has nominated Jackson and Vought to serve

full terms as members of the Foundation Board. Jackson and Vought’s nominations were referred

to the Senate Committee on Foreign Relations on March 14, 2025. See PN29-1 — Kenneth

Jackson — Inter-American Foundation; PN29-4 — Russell Vought — Inter-American

Foundation. After the Senate-confirmed Board members begin serving and can make decisions

on the Foundation’s behalf, Marocco’s temporary designation will end.

       Finally, the Board selects the president of the Foundation “on such terms as the Board may

determine.” 22 U.S.C. § 290f(l)(1). “A majority of the Board shall be required as a quorum. Id.

at § 290f(j). As the sole Board member and thus the “majority of the Board,” Marocco had this

authority. He lawfully exercised that authority when he removed Aviel as president of the

Foundation on February 28, 2025, Marocco Decl. ¶ 3 (ECF No. 14-1), and again the following

week when he appointed Bumbaca as Aviel’s successor. Id. ¶ 4.

       Accordingly, because Marocco lawfully removed Aviel from the Foundation presidency,

the Court should grant summary judgment in Defendants’ favor.

       B.      If the President Does Not Have the Authority to Designate Acting Board
               Members, then the President Must Have the Authority to Remove Aviel
               Himself.

       Even if the Court determines that the President lacked the authority to designate Marocco

as the acting board chair, Aviel’s removal as President of the Foundation was still lawful because

the Board’s removal made Aviel the de facto leader of the Foundation. As president of the


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Foundation, Aviel is subordinate to the Board. 22 U.S.C. § 290f(l)(1). If the President cannot

appoint an acting Board member to supervise Aviel, then Article II supplies the ultimate

background rule: the President must have the constitutional authority to supervise and remove

those who wield executive power on his behalf.         See Free Enter. Fund, 561 U.S. at 493

(recognizing the “executive power include[s] a power to oversee executive officers through

removal”); Cf. Collins v. Yellen, 594 U.S. 220, 250 (2021) (finding acting Department Head to be

removable at will even when the Department Head otherwise had statutory removal protections).

Because the Board’s removal makes Aviel the leader of the Foundation, the Court’s decision

preventing her removal when she lacks the President’s confidence prevents the President from

exercising all of” the “executive Power” of the United States. Seila L. LLC, 591 U.S. at 203; Cf.

Harris v. Bessent, No. 25-5037, 2025 U.S. App. LEXIS 7301, at *48-49 (D.C. Cir. Mar. 28, 2025)

(Walker, J., Concurring) (“The forcible reinstatement of a presidentially removed principal officer

disenfranchises voters by hampering the President’s ability to govern during the four short years

the people have assigned him the solemn duty of leading the executive branch.”)

       Because the President can remove Foundation Board members at-will he can remove them

for any reason, which would include their refusal to remove a subordinate officer. But without a

Board in place, the President is unable to exercise this power and must accept an Executive Branch

agency with leadership that lacks his confidence until the Senate confirms his nominees for

Foundation board positions. Jackson and Vought are still awaiting Senate confirmation, and by

forcing the President to allow Aviel to run the Foundation while the Senate considers his nominees,

the Court would give the Senate an effective veto over the “President’s power to remove—and

thus supervise—those who wield executive power on his behalf,” which is precisely the type of

infringement on Article II that the Supreme Court rejected “in the landmark decision [of] Myers.”




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Seila L. LLC, 591 U.S. at 204; Myers, 272 U.S. at 161 (holding that Congress lacks “the power to

remove or the right to participate in the exercise of that power.”) “The President must have the

authority to remove the leadership of an agency because it is “‘only the authority that can remove’

such officials that they ‘must fear and, in the performance of [their] functions, obey.’” Seila L.

LLC, 591 U.S. at 214-15 (quoting Bowsher v. Synar, 478 U.S. 714, 726, (1986)).

           To be sure, as president of the Foundation, Aviel is an inferior officer, but in the context

of inferior officers the Supreme Court has only recognized exceptions to the President’s removal

authority for “inferior officers with limited duties and no policymaking or administrative

authority.” Seila L. LLC, 591 U.S. at 204 (citing, Morrison v. Olson, 487 U. S. 654, (1988)). As

president of the Foundation, especially when there is no Board to supervise her, Aviel does not

meet this standard. Aviel is the chief executive of the Foundation, 22 U.S.C. § 290f(l), and with

no Board members, the “management of the foundation” is, by default, vested in Aviel. Id. §

290f(g). Thus, Aviel could not credibly claim that she lacks “policymaking or administrative

authority” that would prevent the President from removing her simply because she is an inferior

officer.

           Accordingly, if the President cannot designate an acting Board member to remove Aviel

from her position as president of the Foundation, then the President retains the authority to remove

Aviel himself.

II.        Aviel is Not Entitled to Equitable Relief

           As redress, Aviel seeks declaratory relief, a permanent injunction, and a writ of mandamus.

Pl. Mot at 30-38 (ECF No. 35). But as demonstrated below, Aviel is not entitled to any of these

remedies. As an initial matter, respectfully, the Court’s decision reinstating Aviel as president of

the Foundation was improper because the Court lacks the authority to manage the President’s

personnel decisions. Aviel is not entitled to an injunction because she has not established that she


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suffered any harm, let alone irreparable harm, that could not be remedied through backpay. For

the same reason, Aviel is not entitled to declaratory relief either. Finally, because Aviel has not

identified a mandatory, non-discretionary duty that any Defendants failed to execute, Aviel is not

entitled to a writ of mandamus.

       A.      Aviel Should Not Have Been Reinstated.

       Although Marocco removed Aviel as president of the Foundation on February 28, 2025,

Marocco Decl. ¶ 3 (ECF No. 14-1), the Court’s order granting Aviel’s motion for a preliminary

injunction reinstated her as president of the Foundation and prevented Marocco from acting as

Chair of the Foundation Board. See Order (ECF No. 23); Defs. Status Rpt. (ECF No. 29). With

respect, the Court’s Order was in error because it empowered Aviel to exercise executive authority

on the President’s behalf, even though the President lacked confidence in her leadership.

Traditionally, executive officers challenging their removal have sought back pay, not

reinstatement. See Wiener v. United States, 357 U.S. 349, 350 (1958) (suit “for recovery of his

salary”); Humphrey’s Executor, 295 U.S. at 612 (suit “to recover a sum of money alleged to be

due . . . for salary”); Myers, 272 U.S. at 106 (suit “for his salary from the date of his removal”);

Shurtleff v. United States, 189 U.S. 311, 318 (1903) (suit “for salary”); Parsons v. United States,

167 U.S. 324, 326 (1897) (suit “for salary and fees”). That rule reflects the obvious separation of

powers problems that arise if a court attempts to reinstate an executive branch official that the

President has directed be removed.

       Even though Aviel is not a principal officer appointed by the President and confirmed by

the Senate, she was the leader of the Foundation because the Court’s Order (ECF No. 23) meant

that Marocco was unable to act as Chair of the Foundation Board (see supra Part I(B)). The

President cannot be compelled to retain the services of an officer whom he no longer believes

should be entrusted with the exercise of executive power. Requiring the President to recognize


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and work with Foundation leadership that lacks his confidence “impinges on the ‘conclusive and

preclusive’ power through which the President controls the Executive Branch that he is responsible

for supervising.” Dellinger v. Bessent, No. 25-5028, 2025 U.S. App. LEXIS 3987, at *45 (D.C.

Cir. Feb. 15, 2025) (Katsas , J. dissenting) (quoting Trump v. United States, 603 U.S. 593, 608-09

(2024)); Harris, 2025 WL 1021435, at *4 (Rao, J., dissenting) (“The government is likely to

succeed on its remedial challenge because the injunctive relief concocted by the district court is

wholly unprecedented and transgresses historical limits on our equitable authority.”).

       An injunction reinstating plaintiff also exceeds the scope of the district court’s equitable

powers. A federal court may grant only those equitable remedies that were “traditionally accorded

by courts of equity.” Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S. 308,

319 (1999). Reinstatement of a public official is not such a remedy. “It is . . . well settled that a

court of equity has no jurisdiction over the appointment and removal of public officers.” In re

Sawyer, 124 U.S. 200, 212 (1888). Thus, “the power of a court of equity to restrain by injunction

the removal of a [public] officer has been denied in many well-considered cases.” Id.; see, e.g.,

Baker v. Carr, 369 U.S. 186, 231 (1962) (decisions that “held that federal equity power could not

be exercised to enjoin a state proceeding to remove a public officer” or that “withheld federal

equity from staying removal of a federal officer” reflect “a traditional limit upon equity

jurisdiction”). This principle applies equally where, as here, relief is directed to the President’s

subordinate officers.

       B.      Aviel Is Not Entitled to Permanent Injunctive Relief.

       For Aviel to establish that she is entitled to a permanent injunction, Aviel must demonstrate

“(1) that [the plaintiff] has suffered an irreparable injury; (2) that remedies available at law, such

as monetary damages, are inadequate to compensate for that injury; (3) that, considering the

balance of hardships between the plaintiff and defendant, a remedy in equity is warranted; and (4)


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that the public interest would not be disserved by a permanent injunction.” Zukerman v. United

States Postal Serv., 64 F.4th 1354, 1364 (D.C. Cir. 2023). The “high standard for irreparable

injury” requires a significant showing. An irreparable injury “must be both certain and great.”

Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006).

Accordingly, Aviel “must show ‘[t]he injury complained of is of such imminence that there is a

“clear and present” need for equitable relief to prevent irreparable harm.’” Id. (quoting Wis. Gas

Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985)). Aviel has not established any of these factors.

       Aviel first seeks to establish an irreparable injury by conflating the alleged harm that she

will suffer if removed from her position with the harm to the Foundation itself. Pl. Mot. at 34.

But harm to the Foundation is not harm to Aviel. To demonstrate irreparable harm, Aviel must

explain how removing her as president of the Foundation cause irreparable harm not to the

Foundation, but to her. English, 279 F. Supp. 3d at 335 (finding that terminated agency director

failed to establish irreparable harm even if “there could be harm suffered by the [Agency] or by

other parties if it is later determined that [plaintiff’s replacement] has not been lawfully the acting

Director[.]”). “[H]arm that might befall unnamed third parties does not satisfy the irreparable

harm requirement in the context of emergency injunctive relief, which must instead be connected

specifically to the parties before the Court.” New Mexico v. Musk. --- F. Supp. 3d ---, 2025 WL

520583, at *4 (D.D.C. Feb. 18, 2025) (quoting Church v. Biden, 573 F. Supp. 3d 118, 146 (D.D.C.

2021)); see also Kansas v. United States, 124 F.4th 529, 534 (8th Cir. 2024) (“The irreparable-

harm analysis focuses on the moving party, not the nonmoving party or some third party.”)

(citation omitted). Aviel relies on Sampson v. Murray, 415 U.S. 61, 92 n. 68 (1974) to argue that

she presented a “genuinely extraordinary situation” where loss of employment constitutes

irreparable harm. Pl. Mot. at 34. But Sampson, 415 U.S. 92 n. 68 merely opined that such




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situations may occur but “are hard to define in advance of their occurrence.” Aviel has identified

no binding cases where harm to an organization that results from a loss of employment is sufficient

to meet this standard. Pl. Mot. at 34.

       In any event, Aviel’s claims about harm to the Foundation are unfounded. The Executive

Order that caused Aviel’s removal only eliminates the Foundation’s “non-statutory components

and functions.” Exec. Order No. 14,217. In creating the Foundation, Congress mandated that the

Foundation “maintain its principal office in the metropolitan Washington, D.C., area,” but gave

the Foundation discretion to “establish agencies, branch offices, or other offices in any place or

places outside the United States in which the Foundation may carry on all or any of its operations

and business.” 22 U.S.C. § 290f(q). Congress also specified the Foundation’s “powers and

functions.” Id. § 290f(e). In accordance with the Executive Order, the Foundation will continue

to operate at its principal office and carry out the statutory functions that Congress directed it to

perform. “Congress has defined the agency’s minimum level of functioning already.” Brehm v.

Marocco, Civ. A. No. 25-0660 (RJL), 2025 U.S. Dist. LEXIS 71326, at * 9 (D.D.C. Mar. 11,

2025). President Trump has even nominated two individuals to serve full terms as Foundation

Board members, which demonstrates his intention to keep the Foundation in operation after Aviel

is removed. See PN29-1 — Kenneth Jackson; PN29-4 — Russell Vought. Thus, Aviel’s claim

the Defendants intend to “effectively shutter” the Foundation is not justified by the Executive

Order or by President Trump’s actions since issuing the Executive Order.

       Aviel claims that the “loss of a statutory right to perform her congressionally-directed

mission transcends the loss of income involved in a typical employment action and cannot be

restored by an award of damages.” Pl. Mot. at 34. But Plaintiff cited no injury of a kind that the

Supreme Court has recognized as irreparable in this context. Rather, courts in this Circuit and




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others have concluded that loss of employment does not constitute irreparable harm. See, e.g.,

Hetreed v. Allstate Ins. Co., 135 F.3d 1155, 1158 (7th Cir. 1998); Davis v. Billington, 76 F. Supp.

3d 59, 65–66 (D.D.C. 2014) (collecting cases); Farris v. Rice, 453 F. Supp. 2d 76, 79–80 (D.D.C.

2006) (“cases are legion holding that loss of employment does not constitute irreparable injury”).

       Indeed, courts have repeatedly rejected the notion that the deprivation of a unique, singular,

or high-level position is any more of an irreparable injury. See Hetreed, 135 F.3d at 1158 (loss of

position as senior manager leading audit department not irreparable injury); Marxe v. Jackson, 833

F.2d 1121,1122 (3d Cir. 1987) (division manager); Rubino v. City of Mount Vernon, 707 F.2d 53

(2d Cir. 1983) (mayoral-appointed City Assessor); Franks v. Nimmo, 683 F.2d 1290, 1291 (10th

Cir. 1982) (Associate Chief of Staff for Research and Development position at Department of

Veterans Affairs Medical Center); EEOC v. City of Janesville, 630 F.2d 1254, 1256 (7th Cir. 1980)

(Chief of Police); Levesque v. Maine, 587 F.2d 78, 79 (1st Cir. 1978) (Maine Commissioner of

Manpower); Nichols v. Agency for Int’l Dev., 18 F. Supp. 2d 1, 2, 4 (D.D.C. 1998) (Chief of

Information Management Systems, Office of Inspector General); Burns v. GAO Emps. Fed. Credit

Union, No. 88-cv-3424, 1988 WL 134925, at *1–2 (D.D.C. Dec. 2, 1988) (President of Credit

Union Board of Directors).

       To support her argument that her removal as president of the Foundation would cause

irreparable harm, Aviel cites to Berry v. Reagan, Civ. A. No. 83-3182, 1983 WL 538 (D.D.C. Nov.

14, 1983), an unpublished district court opinion from more than forty years ago. Pl. Mot. at 34-35

(ECF No. 35). But Berry 1983 WL 538, at *5 is distinguishable because those challenged removals

deprived the agency of a quorum making it unable to operate. See Dellinger v. Bessent, No. 25-

5028, 2025 U.S. App. LEXIS 3987, at *44 (D.C. Cir. Feb. 15, 2025) (Katsas, J., dissenting). Here,

removing Aviel from her position as president of the Foundation does not prevent the Foundation




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from operating. The Foundation will continue to operate and in a manner consistent with

Executive Order 14,217. Moreover, as explained in Part II(a) supra, executive branch officials

have historically challenged their removals in suits for back-pay. Remedies at law thus exist and

could make Aviel whole here, foreclosing any showing of irreparable harm.

       The balance of equities and public interest weigh strongly against a permanent injunction.

The President designated Marocco as acting chair of the Foundation Board, and Marocco removed

Aviel from her position as president of the Foundation. Therefore, the public interest would be

undermined if the President did not have a Foundation Board and the appropriate leadership who

holds the President’s confidence to effectively serve him in executing his duties as Chief

Executive. See Sampson, 415 U.S. at 83 (quoting Cafeteria & Restaurant Workers Union v.

McElroy, 367 U.S. 886, 896 (1961)) (“[T]he Government has traditionally been granted the widest

latitude in the ‘dispatch of its own internal affairs.’”). Imposing such a remedy would prevent the

President from implementing his electoral mandate through his subordinates and undermine the

accountability of the Executive Branch enshrined in the Constitution. The President “is elected by

the entire Nation” and all executive officers “remain[] subject to the ongoing supervision and

control of the elected President.” Seila Law, 591 U.S. at 224. Adding additional exceptions to

that constitutional rule “heightens the concern that” the Executive Branch “may slip from the

Executive’s control, and thus from that of the people.” Free Enter. Fund, 561 U.S. at 499.

Injunctive relief would displace and frustrate the President’s decision and process about how to

best address relations with other Western-Hemispheric Nations, and the Court must give deference

to the Executive Branch’s “evaluation of the facts” and the “sensitive and weighty interests of

national security and foreign affairs.” Holder v. Humanitarian L. Project, 561 U.S. 1, 33–34

(2010), including “the timing of those . . . decisions.” Holy Land Found. for Relief & Dev. v.




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Ashcroft, 219 F. Supp. 2d 57, 74 n.28 (D.D.C. 2002), aff’d, 333 F.3d 156 (D.C. Cir. 2003); see

also, Clinton v. City of New York, 524 U.S. 417, 445 (1998) (the President’s Article II inherent

authority is most commonly exercised “in the foreign affairs arena.”).

       Moreover, the public interest is better served by Foundation leadership who holds the

President’s confidence and, accordingly, will more effectively serve him in executing his duties as

Chief Executive. “Allowing another branch of government to insulate executive officers from

presidential control . . . would sever a key constitutional link between the People and their

government,” contrary to the public interest. Dellinger, 2025 U.S. App. LEXIS 3987, at *53

(Katsas J., dissenting). Thus, Aviel’s claimed equities cannot outweigh the grave and

unprecedented harm an injunction would cause to the separation of powers and the President’s

authority to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3. Aviel argues

that the injury to the Executive Branch is self-inflicted because the President removed the prior

board members. Pl. Mot. at 36. But the President removed the Board members pursuant to his

prerogative to ensure exercise “all of” the “executive Power” of the United States. Seila L. LLC,

591 U.S. at 203. Forcing the President to retain a Foundation Board against his will would

undermine that prerogative thus causing harm to the executive Branch.

       Finally, the Court should disregard Aviel’s fearmongering about the consequences of a

ruling in Defendants’ favor. See Pl. Mot. at 37. A ruling from the Court that President Trump

lawfully removed the foundation board members, designated Marocco as an acting board member,

and that Marocco used his authority as an acting board member to remove Aviel as president of

the Foundation would not give the President carte blanche to fire the entire “Federal Reserve

Board tomorrow and appoint acting members for the next-nearly-four years.” Pl. Mot at 39.

Aviel’s contention is illogical and not supported by law. Courts “generally presume that the




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President holds the power to remove at will executive officers and that a statute must contain ‘plain

language to take [that power] away.’” Collins, 594 U.S. at 250. The President can only remove

members of the Federal Reserve Board “for cause.” 12 U.S.C. § 242. In contrast, the Foundation’s

organic statute contains no restrictions on the President’s authority to remove Foundation Board

members, 22 U.S.C. § 290f, and Aviel has not advanced any arguments to the contrary. See

generally Pl. Mot.

       C.      Aviel is Not Entitled to Declaratory Relief.

       The same principles that foreclose Aviel from obtaining reinstatement foreclose her claim

for a declaratory judgment. A declaratory-judgment suit is “essentially an equitable cause of

action.” Samuels v. Mackell, 401 U.S. 66, 70 (1971) (citation omitted). “[T]he Declaratory

Judgment Act provides that after a declaratory judgment is issued the district court may enforce it

by granting ‘further necessary or proper relief,’ 28 U.S.C. § 2202, and therefore a declaratory

judgment . . . might serve as the basis for a subsequent injunction.” Samuels, 401 U.S. at 72.

“[E]ven if the declaratory judgment is not used as a basis for actually issuing an injunction, the

declaratory relief alone has virtually the same practical impact as a formal injunction would.” Id.

As a result, “the same equitable principles relevant to the propriety of an injunction must be taken

into consideration by federal district courts in determining whether to issue a declaratory

judgment.” Id. at 73. To be sure, there may be “unusual circumstances” where “a declaratory

judgment might be appropriate” even though “an injunction [would] be withheld.” Id. But

“ordinarily,” “where an injunction would be impermissible,” “declaratory relief should . . . be

denied as well.” Id. at 73; see Macauley v. Waterman S.S. Corp., 327 U.S. 540, 545 n.4 (1946)

(“The same principles which justified dismissal of the cause insofar as it sought injunction justified

denial of the prayer for a declaratory judgment.”); Great Lakes Dredge & Dock Co. v. Huffman,

319 U.S. 293, 300 (1943) (noting that the Declaratory Judgment Act “only provided a new form


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of procedure for the adjudication of rights in conformity” with “established equitable principles.”).

Therefore, Aviel is not entitled to declaratory relief for the same reasons that she is not entitled to

an injunction.

       Moreover, with respect to the declaratory relief that Aviel seeks under the Federal

Vacancies Act, Pl. Mot. at 32, that declaratory relief would only be available if the Court agrees

with Aviel that President Trump designated Marocco as the acting chair of the Foundation Board

in violation of the Federal Vacancies Act. As explained in Part I above, the Federal Vacancies Act

does not apply to the Foundation, which forecloses Aviel from obtaining relief under the

declaratory relief provision in the Federal Vacancies Act. 5 U.S.C. § 3348(d).

       D.        Aviel is Not Entitled to a Writ of Mandamus.

       Aviel alternatively seeks a writ of mandamus if this Court denies injunctive relief. Pl. Mot.

at 38. But mandamus “is drastic” and “is available only in extraordinary situations.” In re Cheney,

406 F.3d 723, 729 (D.C. Cir. 2005) (en banc) (quotation marks omitted). It requires that a

petitioner establish that “(1) the plaintiff has a clear right to relief; (2) the defendant has a clear

duty to act; and (3) there is no other adequate remedy available to plaintiff.” In re Nat’l Nurses

United, 47 F.4th 746, 752 n.4 (D.C. Cir. 2022). Moreover, mandamus is “inappropriate except

where a public official has violated a ‘ministerial’ duty.” Consol. Edison Co. v. Ashcroft, 286 F.3d

600, 605 (D.C. Cir. 2002).       Aveil has not established that Defendants have a mandatory

nondiscretionary duty to allow her to remain as President of the Foundation and the party seeking

mandamus relief (i.e., Aviel) has the burden to identify a mandatory, non-discretionary duty.

NAACP Legal Def. & Educ. Fund, Inc. v. Barr, 496 F. Supp. 3d 116, 145 (D.D.C. 2020); West v.

Spellings, 480 F. Supp. 2d 213, 217 (D.D.C. 2007) (“A plaintiff bears a heavy burden of showing

that his right to a writ of mandamus is ‘clear and indisputable.’”). Aviel’s failure to identify such

a duty, standing alone, is reason enough to dismiss her mandamus claim.


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       The President’s selection of who should lead an Executive Branch agency is certainly not

a mere ministerial task—rather, it is a “conclusive and preclusive” prerogative of the President.

Trump, 603 U.S. at 608-09 (citation omitted); see also Harris, 2025 WL 1021435, at *5 n.2 (Rao,

J., dissenting) (“The President’s exercise of his appointment and removal authority can in no way

be denominated as ‘ministerial,’ however, as these powers are essential to his Article II power to

control and supervise ‘those who wield executive power on his behalf.’”). Finally, “mandamus

jurisdiction” “merges with the merits,” Lovitky v. Trump, 949 F.3d 753, 759 (D.C. Cir. 2020), and

because the premise of this lawsuit, namely that Aviel’s removal was ultra vires, is incorrect, her

mandamus claim fails.

                                        CONCLUSION

       For these reasons, the Court should deny Plaintiff’s cross motion for summary judgment

and grant cross summary judgment in Defendants’ favor.

 Dated: May 7, 2025                            Respectfully submitted,

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